Case 3:15-cv-00831-NJR-DGW Document 26 Filed 04/13/16 Page 1of13 Page ID #140

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

SCOTT HILDRETH, # N-94795, )
)
Plaintiff, )
)
VS. ) Case No.: 15-cv-831-NJR
)
KIM BUTLER, NEAL R. SCHWARZ, LORI )
OAKLEY, MARVIN BOCHANTIN, )
JACQUELINE LASHBROOK, DAWN )
MARCINKOWSKA, DAVID L. DWIGHT, _ )
WEXFORD HEALTH, JOHN DOE AND )
JANE DOE, )
)
)
) PLAINTIFF DEMANDS JURY TRIAL
Defendants. )
PLAINTIFF’S COMPLAINT

COMES NOW Plaintiff Scott Hildreth, #N-94795, by and through counsel, pursuant to
Federal Rule of Civil Procedure 8 and others, for his Complaint against the various defendants,

and states as follows:

BACKGROUND

1. Plaintiff is incarcerated at Menard Correctional Center in Menard, Illinois and was so at
all relevant times herein discussed.

2. At all relevant times, Plaintiff has and continues to suffer from Parkinson’s Disease for
which he receives medication and medical care through the correctional system.

3. As a sufferer of Parkinson’s Disease, Plaintiff is susceptible to “freezing” episodes,
making him unable to move; developing loss of balance; shuffles his feet to move; has

hand tremors; and has loss of concentration, each of which substantially impair his ability

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Case 3:15-cv-00831-NJR-DGW Document 26 Filed 04/13/16 Page 20f13 Page ID #141

to engage in major life activities, including the inability to write legibly while suffering
from his symptoms. As a result, the use of a word processor and/or typewriter is
necessary for Plaintiff to correspond with necessary individuals and/or the Court as
relevant to his pending criminal matters.

4. Plaintiff is disabled as a result of his debilitating disease.

5. Defendants Kim Butler, Neal Schwarz, Lori Oakley, Marvin Bochantin, Jacqueline
Lashbrook, and John and Jane Doe, all individually and in their official capacities, have
refused to provide adequate accommodations to Plaintiff given his disabilities, for which
each had knowledge, including unfair and limited access to the law library.

6. Defendants have repeatedly refused to implement adequate medication refill procedures,
such that the Defendants systematically, deliberately, recklessly, and/or intentionally
allow Plaintiff's medically necessary prescription medications to lapse, thereby causing
him to suffer further disabling symptoms of Parkinson’s Disease and which make him
susceptible to loss of balance, pain, suffering, and falls.

7. Plaintiff has repeatedly filed grievances to address the inadequacy of his accommodations
and the repeated, ongoing, and cyclical lapses in his prescription medication, but in every
instance has been denied reasonable relief or told his grievance is moot because his
medication was refilled before his grievance was addressed.

8. As aresult, Plaintiff has exhausted all administrative remedies.

JURISDICTION AND VENUE

9. This action is brought pursuant to 42 U.S.C. § 1983 and § 1988 for deprivation of rights
secured by the Eighth Amendment, the Fourteenth Amendment of the United States

Constitution. The Court has jurisdiction over this action under 42 U.S.C. § 1983, 28

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Case 3:15-cv-00831-NJR-DGW Document 26 Filed 04/13/16 Page 30f13 Page ID #142

ULS.C. § 1343 and 28 U.S.C. § 1331. Plaintiff invokes the supplemental jurisdiction of
the Court pursuant to 28 U.S.C. § 1367 to hear and decide Plaintiff’s claims arising under
Illinois state law.

10. Further, Plaintiffs claims pertaining to equal access to the law library arise out of and
pursuant to Title II of the American’s With Disabilities Act (“ADA”), 42 U.S.C. § 12132,
et seq.

11. This Court has personal jurisdiction over Defendants because the acts and omissions at
issue all occurred at the Menard Correctional Center in Menard, Illinois.

12. Venue is proper because the events described herein all occurred at Menard Correctional
Center in Menard, Illinois.

THE PARTIES

13. Plaintiff Scott Hildreth is an individual incarcerated at Menard Correctional Center and
was, at all times herein discussed, present therein.

14. At all relevant times, Defendant Kimberly Butler has been the ADA Coordinator and,
subsequently, Warden of the Menard Correctional Center. She is sued in her individual
and official capacities.

15. At all relevant times, Defendant Neal Schwarz was and/or is a Correctional Counselor at
Menard Correctional Center. He is sued in his individual capacity and official capacity.

16. At all relevant times, Defendant Lori Oakley was and/or is a Grievance Officer at Menard
Correctional Center. She is sued in her individual capacity and official capacity.

17. At all relevant times, Defendant Marvin Bochantin was and/or is a Grievance Officer at

Menard Correctional Center. He is sued in his individual capacity and official capacity.

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Case 3:15-cv-00831-NJR-DGW Document 26 Filed 04/13/16 Page 4o0f13 Page ID #143

18. At all relevant times, Defendant Jacqueline Lashbrook was and/or is ADA Coordinator
and/or Assistant Warden of Programs at Menard Correctional Center. She is sued in her
individual and official capacities.

19, At all relevant times, Defendant Dawn Marcinkowska was and/or is a Correctional
Counselor II at Menard Correctional Center. She is sued in her individual and official
capacities and was personally involved in the deprivation of Plaintiff's library access
rights.

20. At all relevant times, Defendant David Dwight was and/or is an Office Coordinator at
Menard Correctional Center. He is sued in his individual and official capacities and was
personally involved in the deprivation of Plaintiffs library access rights.

21. At all relevant times, Wexford Health was the health care contractor for Menard
Correctional Center. Wexford Health is a foreign corporation authorized to do business in
the State of Illinois with its registered agent located at 801 Adlai Stevenson Drive,
Springfield, Illinois. As the healthcare contractor hired to administer and manage
healthcare of incarcerated persons at Menard Correctional Center, Wexford was in charge
of ordering and managing medication and other medical supplies, among other things, for
its patients.

22. Additional Defendants John and Jane Doe are believed to have acted deliberately and
intentionally at various times in connection with each of the claims expressed herein, but
their names are not presently known. Such individuals include the nurse(s) to whom
Plaintiff complained about his medication lapses, the Wexford Health Sources, Inc.,

employees who deliberately, intentionally, and/or recklessly ignored Plaintiff's pleas to

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Case 3:15-cv-00831-NJR-DGW Document 26 Filed 04/13/16 Page 5of13 Page ID #144

refill his prescriptions, and/or systematically refused to provide adequate medical care,
despite having knowledge of Plaintiff's debilitating disease.

COUNT I - DISCRIMINATION AND DEPRIVATION OF RIGHTS

COMES NOW Plaintiff Scott Hildreth, by and through counsel, for his Count I —
Discrimination (Law Library - ADA — Injunctive Relief) against Defendants Kim Butler, Neal
Schwarz, and Jacqueline Lashbrook in their individual and official capacities, and in support of
the same, states as follows:

23. Plaintiff hereby incorporates the allegations set forth in paragraphs 1 through 22, as
though fully and individually set forth in this Count I.

24. Count I is hereby alleged against Defendants Butler, Schwarz, Oakley, Lashbrook,
Marcikowska, and Dwight (hereinafter referred to as “Defendants”), individually and in
their official capacities.

25. Plaintiff brings this claim pursuant to Title II of the ADA for unfair and improper
discrimination against him, a qualifying disabled person.

26. Further, Plaintiff is entitled to equal protection and due process of law under the Eighth
and Fourteenth Amendments of the United States Constitution and, as set for the herein,
is being denied the same by the Defendants.

27. Plaintiff, as a sufferer of Parkinson’s Disease, is a qualified individual with a disability as
defined under 42 U.S.C. § 12131(2).

28. Plaintiff has a right of equal and fair access to the law library for research and other
relevant issues surrounding his pending criminal appeals.

29. The above-named Defendants have intentionally limited and/or acted with deliberate

indifference to limit Plaintiff's access to the library and continue to do so without

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Case 3:15-cv-00831-NJR-DGW Document 26 Filed 04/13/16 Page 6o0f13 Page ID #145

permitting adequate accommodations for his disability, including the provision of a word
processor, typewriter, or access to the law library at least 3 times per week. Indeed, the
Defendants have denied Plaintiff access to the law library completely as recently as
March and/or April, 2016.

30. At various times between 2012 and present, Plaintiff has personally requested
accommodation for his ADA disability from each of the Defendants. Each Defendant,
sometimes acting individually and other times acting in concert with one or more other
Defendants, refused to grant Plaintiff the access and relief he needs. Such occurrences
are noted in grievances filed by Plaintiff and to which Defendants have access and
participated individually.

31. Law Library access at a frequency of 3 times per week was previously granted to Plaintiff
as recently as January, 2015, but is now being denied are the direction of Defendant.
Such deprivation of Plaintiff’s rights are continuous, ongoing and persistent.

32. As of January 9, 2015, Plaintiff was permitted access to the law library 3 days a week
between 8am and Ipm, even on level 4 lockdowns. During his law library visits, Plaintiff
was able to use the computer information and/or word processors or typewriters to
correspond with individuals outside the Correctional Center, including his attorney(s) and
the Court with respect to his pending criminal matters.

33, Such access to the law library at a frequency of 3 times per week was a reasonable
accommodation given his inability to engage in major and/or daily life activities and the
programs offered by the Correctional Center due to his Parkinson’s Disease.

34. In or about June, 2015, however, Defendants intentionally removed Plaintiff's access to

the law library, instead, assigning him another inmate as an attendant as alleged

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Case 3:15-cv-00831-NJR-DGW Document 26 Filed 04/13/16 Page 7 of13 Page ID #146

accommodation for his inability to legibly write. Such assignment, however, is and was
inadequate as, without law library access, Plaintiff cannot perform legal research and is
forced to choose between confiding in the prisoner/attendant on confidential and
otherwise legally privileged matters.

35. Plaintiff has filed repeated grievances praying for administrative relief, including the
renewal of his law library access, but has been denied and told he was issued an
attendant, instead. Defendants thereafter rejected his pleas for relief and Plaintiff
appealed the same.

36. Further, Plaintiff, as a qualifying disabled individual, is limited in his recreational
activities due to his limited ability to ambulate and, thus, cannot engage in recreational
activities such as exercise or going to the yard when experiencing his symptoms.
Plaintiff is also unable to correspond with his court appointed counsel in his pending
criminal case in Cook County, Illinois.

37. Granting Plaintiff to access the law library permits Plaintiff to substantially engage in
major life activities such as reading, writing, and problem solving, which are one of the
few forms of recreation available to him.

38. | The Defendants’ intentional acts and/or deliberate indifference work to prohibit Plaintiff
from accessing the law library and its computers/word processors have prevented and
continue to prevent the Plaintiff from participating in or benefiting from prison programs
and services due to his disability.

39. Further, Defendants knew of Plaintiff's disability, including his inability to write legibly
and to engage in major life activities and recreational programs offered by the

Correctional Center.

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Case 3:15-cv-00831-NJR-DGW Document 26 Filed 04/13/16 Page 8o0f13 Page ID #147

40. Defendants knew of Plaintiff's clearly established rights under the United States
Constitution and the American’s With Disabilities Act.

41. Notwithstanding such knowledge, Defendants have denied, and continue to deny,
Plaintiff equal and reasonable accommodations for his disability.

42. Defendants’ actions in such denial of access of the law library and, as a result, the courts,
have no reasonable penal basis and are merely intended to deprive Plaintiff of his equal
protection and benefits of the law, equal privileges and immunities under the law, and
due process in violation of the Eighth Amendment, the Fourteenth Amendment, and 42
U.S.C. § 12132.

43. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff has suffered
and will continue to suffer from the denial of his rights and privileges.

44. Accordingly, Plaintiff respectfully prays that an Order of Injunction be entered requiring
the Defendants, in their official capacities, to grant the Plaintiff access to the law library
at least three times per week and also to enjoin the Defendants’ from their ongoing
deprivation of Plaintiff's rights as there are no other remedies which would compensate
Plaintiff for future deprivation of his rights.

45. With regard to the past deprivation of his constitutional rights and discrimination against
him as a disabled individual, Plaintiff prays for recovery of compensatory damages, plus
interests and costs.

46. Further, pursuant to 42 U.S.C. § 1988, Plaintiff prays for his costs and reasonable

attorneys’ fees and costs, plus interest as allowable by federal law.

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Case 3:15-cv-00831-NJR-DGW Document 26 Filed 04/13/16 Page 9of13 Page ID #148

47, Defendants’ reckless and deliberate infraction of Plaintiffs constitutional rights and
discrimination against him as a disabled person were willful and wanton and punitive
damages are also proper as a result.

48. Plaintiff has exhausted all other remedies.

WHEREFORE, as more fully set forth herein, Plaintiff Scott Hildreth respectfully prays
that this Court enter an Order of Injunctive against the Defendants named herein, in their official
capacities, requiring that Plaintiff be granted reasonable access to the law library three days per
week, that he be provided with a word processor to permit him to engage in private
communications, that the Defendants’ be ordered to cease their deprivation of Plaintiffs rights
and discrimination against him, and for his costs expended herein, including all reasonable
attorneys’ fees, plus punitive damages, and for further relief as this Court deems just and proper.

COUNT II - DELAYED MEDICAL ATTENTION

COMES NOW Plaintiff Scott Hildreth, by and through counsel, for his Count I —
Discrimination (Law Library - ADA — Injunctive Relief) against Defendants Kim Butler, Neal
Schwarz, and Lori Oakley in their individual and official capacities, and in support of the same,
states as follows:

49. Plaintiff hereby incorporates by reference the allegations set forth in paragraphs 1
through 48 of this Complaint as though fully set forth herein.
50. Plaintiff's claims herein arise out the Eighth and Fourteenth Amendments of the United

States Constitution.

51. Plaintiff has been diagnosed and suffers from Parkinson’s Disease.
52. Plaintiff receives medical care through the Correctional Center.

53. As part of Plaintiffs treatment, he has been prescribed a medication known as Mirapex.

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Case 3:15-cv-00831-NJR-DGW Document 26 Filed 04/13/16 Page 100f13 Page ID #149

54. | Mirapex helps reduce the Plaintiff's symptoms, allowing him to ambulate with less

difficulty, and helps reduce his susceptibility to falling.

55. Plaintiff has received this medication and/or a substitute for more than a year.

56. Plaintiff's prescriptions must be refilled to prevent relapses and/or worsening of his
symptoms.

57. Plaintiffs prescriptions have run out multiple times and have not been refilled within a

reasonable amount of time, thus causing Plaintiff to suffer symptom relapses and
withdrawal symptoms such as dizziness, headaches, and confusion.

58. In that time, Plaintiff has informed Correctional Center employees, including the
Defendants listed herein, and medical contractors of his need to refill his prescriptions.

59. The Correctional Center employees, including the Defendants listed herein, have failed to
timely refill and/or restock Plaintiff's medicine.

60. Plaintiff has filed multiple grievances in this regard. When prison staff finally addressed
the grievances, Plaintiff was informed his grievances were moot because the medicine
had been restocked. Plaintiff was also told by Correctional Center employees that the
medicine was “non-formulary” and that it was not regularly kept in stock, despite the fact
that the medical staff and correctional officers knew of Plaintiffs debilitating and
disabling condition and his ongoing need for the medicine, having been specifically
informed of the same by Plaintiff and as reported in his medical records which are kept
by the Correctional Center and its medical contractor.

61. Such lapses in prescription refills have occurred cyclically and systematically and, upon
information, Plaintiff believes such cycle will continue with him and those similarly

situated.

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Case 3:15-cv-00831-NJR-DGW Document 26 Filed 04/13/16 Page 110f13 Page ID #150

62. Each of the above named Defendants, despite knowing of Plaintiff's disabilities,
recklessly and with deliberate indifference to his medical needs deprived him of his rights
and equal protection and enjoyment under the law.

63. Each of the above named Defendants received Plaintiffs requests for his medication, but
failed to timely provide refills such that they were deliberately indifferent to his
medically necessary medicine and such indifference caused Plaintiff to suffer physical
injury in the form of withdrawal symptoms and relapses and/or worsening of his
Parkinson’s disease symptoms.

64. Each of the above named Defendants were involved in receipt of Plaintiffs grievances,
eventual denial of relief of the grievances, and, in doing so, were deliberately indifferent
to Plaintiff's known medical necessity.

65. As a result, Plaintiff has suffered and will continue to suffer from cyclical lapses in his
necessary medication.

66. Plaintiff herein prays for an Order of Injunction, enjoined the Defendants from permitting
Plaintiff's medication to lapse in the future.

67. As to his past pain and suffering, Plaintiff prays for compensatory damages for his pain
and suffering stemming from his lapses in medication and for punitive damages
warranted by the Defendants’ reckless, willful and wanton misconduct in deliberately
ignoring his pleas.

WHEREFORE, as more fully set forth herein, Plaintiff Scott Hildreth respectfully prays
that this Court enter an Order of Injunctive against the Defendants named herein, in their official
capacities, requiring that Plaintiff's medication be timely refilled, that the Defendants’ be

ordered to cease their deprivation of Plaintiff's rights and discrimination against him, and for

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Case 3:15-cv-00831-NJR-DGW Document 26 Filed 04/13/16 Page 120f13 Page ID #151

compensatory damages for his pain and suffering, his costs expended herein, including all
reasonable attorneys’ fees, plus punitive damages, and for further relief as this Court deems just
and proper.

COUNT IIT - DELAYED MEDICAL CARE

68. Plaintiff hereby re-alleges and incorporates his allegations in paragraphs 1-22 and 49-65
as though fully set forth herein.

69. Defendant Wexford is the medical contractor at Menard Correctional Center.

70. Defendant Wexford is liable to the Plaintiff because it maintains an unconstitutional
policy and adopts a custom of deliberate indifference to the known and obvious
consequence of its practices.

71. Defendant Wexford supports a policy that sanctions the maintenance of prison conditions
that infringe upon the constitutional rights of prisoners. This corporate policy is the
moving force behind the constitutional violations.

72. This policy has directly and proximately caused Plaintiff to suffer relapses of his
Parkinson’s symptoms, thereby resulting in pain and suffering.

73. This policy includes intentionally not refilling its stock of Parkinson’s medicine such that
Plaintiff's prescriptions can be refilled in a timely manner, which would avoid his
relapses, pain, and suffering.

74. This policy is motivated, in part, by the deliberate indifference to Plaintiff's and others’
medical needs, which are placed at a lower priority than Wexford’s business interests,
including its profits.

75. Wexford has an obligation and a duty to provide Plaintiff with adequate and timely

medical care, including the seasonable refilling of his prescriptions.

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Case 3:15-cv-00831-NJR-DGW Document 26 Filed 04/13/16 Page 130f13 Page ID #152

76. Wexford has failed to provide such care and has done so with deliberate indifference to

Plaintiff’s needs.

77. Defendant Wexford is liable for punitive damages due to its willful and wanton disregard
for Plaintiffs needs.

WHEREFORE, Plaintiff prays that this Court enter judgment in his favor and against
Defendant Wexford for (i) damages for the violation of his rights and compensation for his pain
and suffering due to the injury mentioned above, (ii) damages for emotional distress suffered due
to the conditions mentioned above, (iii) the costs of this suit, including reasonable attorneys’

fees, and (iv) for further relief as this Court deems just and proper.

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Jee for yas

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(314) 421-5545

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AFFIDAVIT OF SERVICE

I, the undersigned, certify that copy of the foregoing has been electronically served on all
counsel of record via the Court's CM/ECF system, or U.S. mail for parties not registered with

CM/ECF, on this /A7\day of Cpl Lf , 2014).

Under penalties of perjury as provided by law, I certify that the statements in this
affidavit are true.

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